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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

J.K.J,

               Plaintiff,
         v.

POLK COUNTY SHERIFF’S DEPARTMENT,
DARRYL L. CHRISTENSEN,                                                       Case No. 15-cv-428

                       Defendants,

and

WISCONSIN COUNTY MUTUAL INSURANCE CORPORATION,

                       Intervenor.


M.J.J,

                       Plaintiff,
         v.

POLK COUNTY SHERIFF’S DEPARTMENT,
DARRYL L. CHRISTENSEN,                                                       Case No. 15-cv-433

                       Defendants
         and

WISCONSIN COUNTY MUTUAL INSURANCE CORPORATION,

                       Intervenor.


                     INTERVENING DEFENDANT’S MOTION FOR
                    PARTIAL FINAL JUDGMENT UNDER RULE 54(b)


         NOW COMES the Intervening Defendant, Wisconsin County Mutual Insurance

Corporation, by its undersigned attorneys and, pursuant to Fed. R. Civ. P. 54(b), moves the Court

to enter partial final judgment in favor of Intervening Defendant for purposes of appeal of the

Court’s Order Granting Summary Judgment and Issuing Declaratory Judgment in Favor of
         Case: 3:15-cv-00433-wmc Document #: 117 Filed: 12/01/16 Page 2 of 2



Wisconsin County Mutual Insurance Corporation, and to certify that there is no just reason for

delay of entry of such judgment.

         This Motion is supported by the accompanying Brief and the documents on file with the

Court.

         Dated this 1st day of December, 2016.


                                             s/ Lori M. Lubinsky
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